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                                                                               FILED
                                                                             IN CLERK'S OFFICE
UNITED STATES DISTRICT COURT                                            U.S. DISTRICT COURT e.o.N.Y.
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - -X                    * APR 28 2021 *
UNITED STATES OF AMERICA,                                                BROOKLYN OFFICE
                  - against -
                                                               VERDICT FORM
BRENDAN HUNT,                                                    21-CR-86 (PKC)

                              Defendant,

- - - - - - - - - - - - - - - - - - - - - - - - - -X

          We, the jury, find as follows:

1. Indictment- Threats Against Officials

     As to the sole count of the Indictment in this matter charging Defendant BRENDAN
HUNT with violating 18 U.8/C. § 115(a)(l)(B):

                    Guilty __J______             Not Guilty _ _ __

       If you find the Defendant Guilty, go to #2. If you find the defendant Not Guilty, your
                                   deliberations are completed.


2. True Threats Proved

        For each of the following statements indicate whether you unanimously find that the
Government has proved beyond a reasonable doubt that Defendant made the statement and that
the statement constituted a true threat, and if so, indicate whether you unanimously find that the
true threat included a true threat to murder:

          a. On December 6, 2020, a comment from his Facebook account stating:·

              Trump, we want actual revenge on democrats. Meaning, we want you to
              hold a public execution of pelosi aoc schumer etc. And if you dont do it,
              the citizenry will. We're not voting in another rigged election. Start up the
              firing squads, mow down these com,ies, and lets take america back!

                   Yes____                       No __ J__
              If yes, did the true threat include a true threat to murder?

                   Yes                           No - - - -
                         ----

                                                                                                !         COURT'S
                                                                                                 - EXHIBIT NO.     d::
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      b. A December 6, 2020 comment from his Facebook account stating:

         Fuck the lockdown po-lice! Yeah booiii run those pigs over! Anyone
         enforcing this lockdown mask vaccine bullshit deserves nothing less than a
         bullet in their fucking head! Including cops! If you're going to shoot
         someone tho, go after a high value target like pelosi schumer or AOC. They
         really need to be put down. These commies will see death before they see
         us surrender! USA!!

             Yes - - - -            No      ,/

         If yes, did the true threat include a true threat to murder?

                                    No
             Yes - - - -                 -· - - -

      c. A video posted on BitChute on January 8, 2021, entitled "KILL YOUR SENATORS"
         with the summary "Slaughter them all," wherein Defendant stated, among other things:

         We need to go back to the U.S. Capitol when all of the Senators and a lot of
         the Representatives are back there, and this time we have to show up with
         our guns. And we need to slaughter these motherfuckers . . . [O]ur
         government at this point is basically a handful of traitors ... so what you
         need to do is take up arms, get to D.C., probably the inauguration ... so
         called inauguration of this motherfucking communist Joe Biden ... [T]hat's
         probably the best time to do this, get your guns, show up to D.C., and
         literally just spray these motherfuckers ... like, that's the only option ...
         [T]hey're gonna come after us, they're gonna kill us, so we have to kill them
         first ... [S]o get your guns, show up to D.C., put some bullets in their
         fucking heads. If anybody has a gun, give me it, I'll go there myself and
         shoot them and kill them ... [W]e have to take out these Senators and then
         replace them with actual patriots . . . [T]his is. a ZOG government . . .
         [T]hat' s basically all I have to say, but take up arms against them.

             Yes   _J__             No _ _ __

         If yes, did th7e threat include a true threat to murder?

             Yes                    No - - - -


      d. A January 8, 2021 response, to two messages on the social media website Parler:

         exactly, enough with the "trust the plan" bullshit. lets go, jan 20, bring your
         guns #millionmilitiamarch[.] ·

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            Yes _ __                No _ __ I
         If yes, did the true threat include a true threat to murder?

            Yes
                  ----              No - - - -



Dated: B~Tklyn, New York
     . ~  i1 . '    2021




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